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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

NATIONAL SECURITY COUNSELORS, *
                              *
          Plaintiff,          *
                              *
          v.                  *
                              *                       Case: 1:11-cv-00445 (BAH)
CENTRAL INTELLIGENCE AGENCY, *
et al.,                       *
                              *
          Defendants.         *
                              *
*       * *       *   *  *    *                       *       *       *      *       *          *

  PLAINTIFF’S MOTION FOR ENTRY OF A BIFURCATED BRIEFING SCHEDULE

       NOW COMES Plaintiff National Security Counselors to respectfully request that the

Court bifurcate the briefing for this case and accordingly order the parties to adhere to the

following briefing schedule:

       •       27 July 2012 – Defendants Central Intelligence Agency (“CIA”), Office of the

               Director of National Intelligence (“ODNI”), and National Security Agency

               (“NSA”) submit a Motion for Partial Summary Judgment on Counts 1-3, 6-7, 10,

               and 12-13. Subsequent briefing of this motion would follow the standard

               timeline.

       •       28 September 2012 – Defendants Defense Intelligence Agency (“DIA”),

               Department of Justice (“DOJ”), and Department of State (“State”) submit a

               Motion for Partial Summary Judgment on Counts 5, 8, and 9. Subsequent

               briefing of this motion would follow the standard timeline.

       Plaintiff has good cause to request this relief. All defendants except DIA completed

processing of their respective Freedom of Information Act (“FOIA”) requests quite some time
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ago, and only DIA is still processing a FOIA request. CIA and ODNI completed their processing

of the FOIA requests at issue in Counts 1-3, 6-7, and 12 in 2010, months before this case was

even filed. NSA completed its processing of the FOIA request at issue in Count 10 in June 2011

and indicated at that time that it would not process the request further. CIA completed its

processing of the FOIA request at issue in Count 13 in October 2011 and referred records to the

Federal Bureau of Investigation, which completed its processing of the referred records last

week. 1

          In other words, Defendants are holding the briefing of eight separate FOIA requests

hostage to one agency’s delayed processing of one request. DIA has estimated that it will not

complete processing of the FOIA request at issue in Count 5 until August 2012. Given the age of

these requests, how long they have been completed, and the public interest in prompt resolution

of FOIA controversies, Plaintiff respectfully requests that the Court order Defendants to promptly

brief the counts they have already had ample time to prepare.

          In addition, Plaintiff requests that the Court order DIA to issue within two weeks an

interim release of all records already processed in response to the FOIA request at issue in Count

5. Despite Plaintiff’s multiple requests for interim releases made on a rolling basis since

submitting this FOIA request in 2009, DIA has made no release to date regarding this request.




1
 In fact, DOJ and State have already completed processing the FOIA requests at issue in Counts
8-9 as well, and the only reason Plaintiff is proposing delaying their filings until September is
because the parties are currently involved in negotiations regarding those two requests.

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       Defendants object to this Motion. Defendants’ counsel indicated that Defendants plan to

wait until DIA finishes its production to before they file a Motion for Summary Judgment on all

remaining counts. 2 A proposed order accompanies this Motion.

Date: June 26, 2012

                                                 Respectfully submitted,

                                                  /s/ Kelly B. McClanahan
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  The counts not listed herein are properly the subject of a Motion to Dismiss filed by Defendants
last year.
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